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  STATE OF NORTH CAROLINA FILED                    IN THE GENERAL COURT OF JUSTICE
                                                       SUPERIOR COURT DIVISION
  COUNTY OF NEW HANOVEh sa                22 p     1: 5 FILE NO.: 22-CVS-001507
  MARK EASTHAM                                   )
  And PETER SPARK,              NEW HANOVER CO., c.S.C.
                                 BY              )
               Plaintiffs,                         )
                                                   )
  VS.                                              )
                                                   )
                                                         ANSWER AND COUNTERCLAIMS
  PORT CITY CONTRACTING                            )
  SERVICES, INC., ROBERT P. SHARPE,                )
  STONE BAY TACTICAL, LLC, and SRS                 )
  SUPPLY, LLC,                                     )
                                                   )
               Defendants.                         )
                                                   )




        NOW COME Defendants Port City Contracting Services, Inc. and Robert P.

 Sharpe, by and through undersigned counsel, and Answer the Complaint as follows:


                           FIRST AFFIRMATIVE DEFENSE
                       (Failure to State a Claim—Rule (12)(b)(6))

        The Plaintiffs' claims should be dismissed on the grounds that they fail to state

 claims for which relief can be granted.


                             SECOND AFFIRMATIVE DEFENSE
                                (Failure to Mitigate Damages)

        The Plaintiffs' contract-based claims are barred on the grounds that they failed

 to mitigate their damages.

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                                       Ross & NUTT, PLLC
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                           THIRD AFFIRMATIVE DEFENSE
                                (Breach of Contract)

        The Plaintiffs' contract-based claims are barred because the Plaintiffs first

 breached their contractual obligations, relieving the Defendants of any obligation to

 perform.


                          FOURTH AFFIRMATIVE DEFENSE
                                 (Unclean Hands)

        The Plaintiffs' claims for equitable relief are barred by to their own inequitable

 conduct.


                            FIFTH AFFIRMATIVE DEFENSE
                               (Not Employees/Exemptions)

        The Plaintiffs' Wage and Hour Act claims are barred on the grounds that the

 Plaintiffs were not employees and/or were exempt from the Act at all relevant times.


                            SIXTH AFFIRMATIVE DEFENSE
                                    (Good Faith)

        The Plaintiffs' Wage and Hour Act claims are barred in part on the grounds

 that the Defendants had a good faith belief that the Plaintiffs were exempt from the

 Act.


                         SEVENTH AFFIRMATIVE DEFENSE
                               (Exempt Employees)

        The Plaintiffs' claims are barred by the applicable statutes of limitations for

 each claim.




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                           EIGHTH AFFIRMATIVE DEFENSE
                                      (Truth)

         The Plaintiffs defamation claim is barred on the grounds that the statements

 alleged to be defamatory were truthful.


                         NINTH AFFIRMATIVE DEFENSE
                   (Waiver, Estoppel, and/or Accord and Satisfaction)

         The Plaintiffs' claims arising from alleged failure to pay "back pay" are barred

 by the doctrines of waiver and estoppel in that they offered their services in exchange

 for equity in the company at a later date and received that equity.


                           TENTH AFFIRMATIVE DEFENSE
                                 (Indemnification)

         Sharpe is entitled to indemnification by the company for defense of this action

 and any monetary award that might result.


                         ELEVENTH AFFIRMATIVE DEFENSE
                                    (Setoff)

         To the extent that the Plaintiffs are awarded payment for unpaid services, said

 amounts must be offset by the value of shares in PCCS that they received as

 compensation for those services.


                          TWELFTH AFFIRMATIVE DEFENSE
                              (Business Judgment Rule)

         The Plaintiffs' claims are barred in whole or part by the business judgment

 rule.




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                                          PARTIES

       1.     Admitted.

       2.     Admitted that Peter Spark is a resident of New Hanover County, North

 Carolina. It is denied that Spark is a citizen of New Hanover County, North Carolina.

       3.     Admitted.

       4.     Admitted.

       5.     Admitted as to Stone Bay Tactical, LLC.

       6.     Admitted as to SRS Supply, LLC.

       7.     Admitted.


                             JURISDICTION AND VENUE

       8.     Admitted.

       9.     Admitted.

       10.   Admitted.


                                           FACTS

       11.   Admitted that one of the business activities conducted by Defendant

 PCCS is supplying diabetes testing strips, for which its primary customer is the U.S.

 Department of Veterans Affairs. Except as expressly admitted, denied.

       12.   Admitted.

       13.   Admitted.

       14.   The allegations in Paragraph 14 reference a written document and legal

 instrument, which is the best evidence of its contents and therefore no response is



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  required. To the extent the allegations in Paragraph 14 are inconsistent with the

  referenced instrument, they are denied.

        15.    Admitted that Sharpe is the largest shareholder of Class B stock in

  PCCS and is the majority shareholder of Class A stock.                    Admitted that PCCS

 shareholders include the Plaintiffs and that they are minority shareholders. The

  remainder of the allegations in Paragraph 15 are legal conclusions to which no

  response is required; however, to the extent a response is required, they are denied.

        16.    Admitted.

        17.    Admitted.

        18.   Admitted.

        19.   Admitted.

        20.   Admitted.

        21.   Admitted.

        22.   The allegations in Paragraph 22 reference a written document and legal

 instrument, which is the best evidence of its contents and therefore no response is

 required. To the extent the allegations in Paragraph 22 are inconsistent with the

 referenced instrument, they are denied.

        23.   Admitted that Sharpe agreed in September of 2021 that PCCS should

 make a 50% payment of the Stock Redemption and Release Agreement to Spark hut

 that Spark failed to conduct that transaction in the course of his job responsibilities

 and authority as Chief Financial Officer, and that Eastham made no effort to compel

 that transaction. Except as expressly admitted, denied.



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       24.    It is admitted that Eastham was terminated on or about December 14,

 2021. Except as expressly admitted, denied.

       25.    Admitted.

       26.    Admitted.

       27.    Admitted.

       28.    Denied.

       29.    Denied.

       30.    Denied.

       31.    Admitted that the Plaintiffs added deferred compensation to PCCS's

 financial records in late 2020 for the purpose of valuation and later to be converted

 to equity, but the Plaintiffs maintained those amounts on the books without

 authorization of the Defendants after issuance of new shares. Except as expressly

 admitted, denied.

       32.   Admitted.

       33.   Admitted.

       34.   Admitted.

       35.   It is admitted that Sharpe proposed a bonus of $100,000 pursuant to his

 and PCCS's existing policy of paying a commission on employee-generated revenues

 and, in fact, was less than the amount the commission other employees would expect

 to receive from the amount of revenues generated by Sharpe. It is admitted that

 commissions encourage employees to generate revenues for PCCS and therefore

 benefit them and the company. Except as expressly admitted, denied.



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        36.    It is admitted that PCCS leased a car for Sharpe's use as an officer and

  employee. Except as expressly admitted, denied.

        37.    Denied.

        38.    It is admitted that the Plaintiffs initially objected to the commission but

  that Eastham later agreed to its appropriateness.               It is denied that deferred

 compensation was owed or promised to be paid from revenues. Except as expressly

 admitted, denied.

        39.    Denied.

        40.    It is admitted that the Plaintiffs requested payment of purported

 deferred compensation.       It is expressly denied that deferred compensation was

 promised to be paid from operating revenues of PCCS. Except as expressly admitted,

 denied.

        41.    Admitted that an email was sent on the referenced date. This paragraph

 references a written document that is the best evidence of its contents. To the extent

 the allegations in Paragraph 41 are inconsistent with the referenced document, they

 are denied.

        42.    Admitted.

        43.    Denied.

        44.    Denied that Sharpe made any threats.                   Admitted that Sharpe

 reasonably believes that Eastham violated federal law. Except as expressly admitted,

 denied.




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       45.   Denied that Sharpe made any threats. Admitted that embezzlement or

 theft could be grounds for deportation. Except as expressly admitted, denied.

       46.   Admitted that Sharpe lodged a criminal complaint against Spark for

 embezzlement from PCCS. Except as expressly admitted, denied.

       47.   Admitted that the Plaintiffs were not owed deferred compensation from

 PCCS's operating revenues and therefore were not paid such compensation. Except

 as expressly admitted, denied.

       48.   Admitted the referenced correspondence was sent to the Defendants on

 or about the referenced date. Except as expressly admitted, denied.

       49.   Admitted that the Plaintiffs were not owed deferred compensation from

 PCCS's operating revenues and therefore were not paid such compensation.

 Admitted that the Defendants did not respond to Exhibit C. Except as expressly

 admitted, denied.

       50.   Admitted.

       51.   Denied.

       52.   It is admitted that Sharpe is the only voting shareholder. It is denied

 that he exercises complete control over PCCS.

       53.   Denied.

       54.   Denied.

       55.   Denied.

       56.   Denied.

       57.   Denied.



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       58.   Denied.

       59.   Admitted that Sharpe traveled to Las Vegas for an industry show as a

 representative of PCCS d/b/a Stone Bay Tactical. Except as expressly admitted,

 denied.

       60.   Admitted that "Stone Bay Tactical" is an assumed name for PCCS and

 therefore all use of the warehouse to store inventory and other materials of "Stone

 Bay Tactical" was in fact use by PCCS. Similarly admitted, and for the same reasons,

 all work by PCCS employees for "Stone Bay Tactical" was for PCCS.                  Except as

 expressly admitted, denied.

       61.   Denied.

       62.   Denied as to Stone Bay Tactical, LLC. Except as expressly admitted,

 denied.

       63.   Admitted that prior to January of 2022, SRS Supply, LLC used the

 warehouse to store inventory, the sale of which generated income for PCCS. Except

 as expressly admitted, denied.

       64.   Admitted that PCCS employees were paid by SRS for their work for

 SRS. Admitted that some SRS employees also were employed and paid by PCCS.

       65.   Denied.

       66.   Denied.

       67.   Denied.

       68.   Admitted.




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       69.    Admitted that Sharpe traveled to Ukraine for business purposes on

 behalf of PCCS, including the potential sale of military supplies. Except as expressly

 admitted, denied.

       70.    Admitted.

       71.    Admitted that PCCS paid business-related expenses and that Sharpe

 paid expenses associated with his personal mission in Ukraine. Except as expressly

 admitted, denied.

       72.    Denied.

       73.    Denied.

       74.    Admitted that weapons owned by PCCS are stored in the warehouse

 leased by PCCS consistent with PCCS d/b/a Stone Bay Tactical's Federal Firearms

 Licenses ("FFLs").

       75.    Denied.

       76.    Denied.

       77.    Denied.

       78.   Admitted that Sharpe sent a draft email to a confidante, whom he

 trusted not to disclose said email.       The allegations in Paragraph 78 reference a

 written document, which is the best evidence of its contents. Except as expressly

 admitted, denied.

       79.    Denied.

       80.    Denied.




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       81.    The allegations in Paragraph 81 reference a written document, which is

 the best evidence of its contents. To the extent that the allegations are inconsistent

 with the document, they are denied.

       82.    Admitted that Sharpe remained a signatory on the bank accounts of

 PCCS and continued to control debits and withdraw from the company bank account

 for business purposes. Except as expressly admitted, denied.

       83.    Admitted that PCCS has terminated employees for cause. Except as

 expressly admitted, denied.

       84.    Admitted that the conduct of the Plaintiffs caused Sharpe significant

 emotional distress which exacerbated his PTSD while he was fighting a war. Except

 as expressly admitted, denied.

       85.    Admitted that Sharpe has returned from Ukraine. Except as expressly

 admitted, denied.

       86.    Denied.

       87.    Admitted that Exhibit F was sent and that it is the best evidence of its

 contents. To the extent that the allegations in Paragraph 87 are inconsistent with

 the referenced document, they are denied.

       88.    Admitted.

       89.    Denied.

       90.    The Defendants lack information sufficient to admit or deny the

 allegations in Paragraph 90 and therefore denies them.




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                              FIRST CLAIM FOR RELIEF
                           (Breach of Fiduciary Duty—Sharpe)

       91.    The Defendant reasserts and incorporates by reference his answers in

 the previous paragraphs as if fully set forth.

       92.    Admitted that Sharpe is the largest shareholder of Class B stock and is

 the sole shareholder of Class A stock in PCCS.

       93.    Admitted.

       94.    Admitted.

       95.    Admitted that Sharpe is not an attorney. The allegations in Paragraph

 95 consist of legal conclusions to which no response is required. To the extent a

 response is required, denied.

       96.    Admitted that Sharpe is not an attorney. The allegations in Paragraph

 96 consist of legal conclusions to which no response is required. To the extent a

 response is required, denied.

       97.    Denied.

       98.    Denied.


                             SECOND CLAIM FOR RELIEF
                              (Constructive Fraud Sharpe)

       99.     The Defendant reasserts and incorporates by reference his answers in

 the previous paragraphs as if fully set forth.

       100.   Admitted that Sharpe is not an attorney. The allegations in Paragraph

 100 consist of legal conclusions to which no response is required. To the extent a

 response is required, denied.


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         101.   Denied.

         102.   Denied.

         103.   Denied.


                                THIRD CLAIM FOR RELIEF
                          (Production of Corporate Records—PCCS)

         104.    The Defendant reasserts and incorporates by reference his answers in

 the previous paragraphs as if fully set forth.

         105.   Admitted.

         106.   Admitted.

         107.   Denied upon information and belief that as of the date of the Complaint

 Defendant PCCS had not responded. Admitted that since the filing of the Complaint.

 PCCS again responded by providing the requested records and therefore this claim is

 moot.

         108.   Denied.


                            FOURTH CLAIM FOR RELIEF
                   (Dissolution and Appointment of Receiver—PCCS)

         109.   The Defendant reasserts and incorporates by reference his answers in

 the previous paragraphs as if fully set forth.

         110.   Admitted.

         111.   Denied.

         112.   Denied.

         113.   Admitted that in accordance with federal regulations, a service-disabled

 veteran-owned business ("SDVOB") must be controlled by a service -disabled veteran

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  to do business under the government's SDVOB program, and that neither Plaintiff is

 a service-disabled veteran. Admitted that the Plaintiffs do not have control over

  PCCS or Sharpe. Except as expressly admitted, denied.

        114.   Denied.

        115.   Denied.

        116.   Denied.

        117.   Denied.


                             FIFTH CLAIM FOR RELIEF
                     (Preliminary Restraining Order—Defendants)

        118.   The Defendants reassert and incorporate by reference the answers in

 the previous paragraphs as if fully set forth.

        119.   Admitted that some PCCS assets have been used by Defendants for the

 benefit of PCCS and/or for compensation to PCCS. Except as expressly admitted,

 denied.

        120.   Denied.

        121.   Denied.

        122.   Admitted that Sharpe struggles with PTSD and depression because of

 his service. Admitted that the SDVOB program is specifically designed to prefer

 government contracting with veterans disabled by service to their country and it is

 only because of that service, and Sharpe's resulting PTSD, that PCCS has been able

 to do business benefiting its shareholders, including the Plaintiffs. Except as

 expressly admitted, denied.

       123.    Denied.

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       124.   Denied.

       125.   Denied.

       126.   Denied.


                              SIXTH CLAIM FOR RELIEF
                              (Breach of Contract—Sharpe)

       127.   The Defendant reasserts and incorporates by reference the answers in

 the previous paragraphs as if fully set forth.

       128.   Admitted.

       129.   Admitted.

       130.   Admitted that the Plaintiffs and other executives, including Sharpe,

 agreed not to receive compensation during PCCS's formative period until they could

 be issued equity shares. Admitted that following the initial formative period, when

 revenues stabilized, the Plaintiffs and others were hired as employees and paid

 wages. Admitted that as agreed, the Plaintiffs received equity shares, which they

 accepted. Except as expressly admitted, denied.

       131.   Admitted.

       132.   Denied.

       133.   Denied.

       134.   Denied.

       135.   Denied.

       136.   Denied.




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                           SEVENTH CLAIM FOR RELIEF
                      (Breach of Wage and Hour Act —Defendants)

       137.   The Defendants reassert and incorporate by reference the answers in

 the previous paragraphs as if fully set forth.

       138.   Admitted the Plaintiffs were salaried employees beginning in or about

 June of 2020. Except as expressly admitted, denied.

       139.   Denied.

       140.   Admitted that Eastham was not employed by or paid a salary during the

 referenced period as an investment in PCCS from October 2019 until May of 2020

 and was then a 20% interest holder. Except as expressly admitted, denied.

       141.   Admitted that Spark was not employed by or paid during the referenced

 period as an investment in PCCS from October 2019 until May of 2020. Except as

 expressly admitted, denied.

       142.   The allegations set forth in Paragraph 142 reference a written document

 that is the best evidence of its contents. To the extent the allegations in Paragraph

 142 are inconsistent with the referenced document, they are denied.

       143.   Admitted that PCCS did not owe deferred compensation from operating

 revenues. Except as expressly admitted, denied.

       144.   Denied.

       145.   Admitted that PCCS declined a second demand for cash payments that

 was contrary to prior agreement of the parties. Except as expressly admitted, denied.

       146.   Admitted that Sharpe in consultation with other PCCS officers rendered

 PCCS's decision not to make cash payment of purported deferred compensation and:


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              a. Denied;

              h. Admitted the Plaintiffs were terminated for reasons unrelated to the

                 deferred payment requests. Except as expressly admitted, denied;

              c. Admitted that Sharpe proposed an earned commission, which the

                  Plaintiffs agreed he deserved. Except as expressly admitted, denied.

       147.   Admitted that the Plaintiffs received equity shares in 2020 as

 compensation for their invested time and effort from 2019 until June of 2020. Except

 as expressly admitted, denied.

       148.   Denied.


                              EIGHTH CLAIM FOR RELIEF
                                 (Defamation —Sharpe)

       149.   The Defendant reasserts and incorporates by reference the answers in

 the previous paragraphs as if fully set forth.

       150.   Admitted that Eastham is a private citizen of the United States.

 Admitted that Spark is a private citizen of a foreign country. Except as expressly

 admitted, denied.

       151.   Denied.

       152.   Admitted that the referenced draft correspondence was sent to the

 person referenced on the document and was not for distribution.              To the extent the

 question calls for privileged matters, Sharpe invokes that privilege.               Except as

 expressly admitted, denied.

       153.   The allegations in Paragraph 153 constitute legal conclusions to which

 no response is required. To the extent a response is required, denied.

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       154.    The allegations in Paragraph 154 constitute legal conclusions to which

 no response is required. To the extent a response is required, denied.

       155.    Denied.

       156.    Denied.


                              NINTH CLAIM FOR RELIEF
              (Breach of Stock Redemption and Release Agreement                  PCCS)

       157.    The Defendant reasserts and incorporates by reference the answers in

 the previous paragraphs as if fully set forth.

       158.    Admitted.

       159.    Denied.

       160.    Admitted that payment was offered by Spark, approved by Sharpe, and

 refused by Eastham. Except as expressly admitted, denied.

       161.    Denied.


                              TENTH CLAIM FOR RELIEF
                           (N.C. Gen. Stat. §§ 55- 7-42 Sharpe)

       162.    The Defendant reasserts and incorporates by reference the answers in

 the previous paragraphs as if fully set forth.

       163.    Admitted.

       164.    The allegations set forth in Paragraph 164 reference a written document

 that is the best evidence of its contents. To the extent the allegations in Paragraph

 164 are inconsistent with the referenced document, they are denied.

       165.    Admitted.



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       166.   The factual allegations contained in Paragraph 166 are denied. The

 allegations in Paragraph 166 contain legal conclusions to which no response is

 required. To the extent a response to legal conclusions is required, denied.

       167.   Denied.

       168.   Denied.

       169.   Denied.


                           ELEVENTH CLAIM FOR RELIEF
                           (Fraudulent Transfer—Defendants)

       170.   The Defendants reassert and incorporate by reference the answers in

 the previous paragraphs as if fully set forth.

       171.   Admitted that the Plaintiffs are investors in PCCS. Except as expressly

 admitted, denied.

       172.   Denied.

       173.   Denied.

       174.   Denied.

       175.   Denied.

       176.   Denied.

       177.   Denied.

       178.   Denied.

       179.   Denied.




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                            TWELFTH CLAIM FOR RELIEF
                        (Pre-Judgment Attachment —Defendants)

       180.   The Defendants reassert and incorporate by reference the answers in

 the previous paragraphs as if fully set forth.

       181.   Denied.

       182.   Denied.

       183.   Admitted to the extent that assets of PCCS have been delivered.

       184.   Denied.

       185.   Denied.


                                     COUNTERCLAIMS

       NOW COME Defendants/Counterclaim Plaintiffs Port City Contracting

 Services. Inc.. and Robert P. Sharpe, complaining of the Plaintiffs/Counterclaim

 Defendants as follows:


                                             FACTS

       1.     As of the filing of the Complaint, PCCS was a Service-Disabled Veteran

 Owned Business ("SDVOB") within the meaning of a program offered by the United

 States.    As a SDVOB, PCCS received preferential treatment in government

 contracting and procurement processes.

       2.     Sharpe is a service-disabled veteran by reason of post-traumatic stress

 disorder ("PTSD") caused by his military service.

       3.     To qualify as a SDVOB, a business must be majority owned and

 controlled by one or more service-disabled veterans.


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       4.     As Chief Financial Officer, Spark was responsible for keeping the books

 of PCCS, ensuring that payments to creditors were timely made, ensuring payroll

 was properly administered, and ensuring that officers and employees were

 compensated as agreed by the officers of PCCS. Spark is not a service-disabled

 veteran.

       5.     As Chief Operating Officer and President of PCCS, Eastham was

 responsible for day-to-day operations, including tasks he specifically agreed to

 oversee or handle directly. Eastham is not a service-disabled veteran.

       6.     In December of 2020, Eastham, Spark, and Sharpe agreed to recognize

 the taxable value of new equity shares issued to them that month. For accounting

 and tax purposes, Spark recorded those equity values as "Manual Check" entries in

 the company's ledgers for amounts corresponding to those assigned as values to each

 shareholder's newly issued stock as follows:

              a. Sharpe, no new shares issued;

              b. Eastham, 1,204 shares issued at a value per share of $15.19 for a

                 total book value of $18,280.04;

              c. Spark, 1,916 shares issued at a value per share of $15.19 for a total

                 book value of $29,100;

              d. Jay Graves, 1,405 shares issued at a value per share of $15.19 for a

                 total book value of $21,340;

              e. Ryan Albert, 1,150 shares issued at a value per share of $15.19 for a

                 total book value of $17,460.



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       7.    The shareholders had agreed that issued stock would compensate them

 for any invested work they had performed during the company's formative period,

 when it was unable to hire employees.

       8.    On December 31, 2020, Spark made manual check entries in all the

 above-cited amounts but also made an actual payment to Eastham in the amount of

 $21,940.17, which he categorized as "Misc. pay."

       9.    The Plaintiffs knew at all times that a threshold requirement for a

 business to qualify as a SDVOB by the United States Department of Veterans Affairs

 is that a service-disabled veteran must maintain not only equitable majority

 ownership but control over the company.

       10.   The Plaintiffs knew at all times that one measure of "control" used by

 the United States is whether a service-disabled veteran owner is the highest

 compensated employee in the company.

       11.   By Spark giving, and Eastham receiving, a payment of $21,940.17

 without Sharpe's knowledge, they increased Eastham's income for 2020 above

 Sharpe's income in violation of SDVOB regulations.

       12.   PCCS, therefore, was presumptively disqualified to do business as a

 SDVOB, which is its predominant business function. The surreptitious payment

 opens PCCS to liability to the United States and may disqualify it from receiving

 contracts as a SDVOB.




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       13.    Whether or not the payment was legitimate, Spark and Eastham had a

 duty to inform the company that Sharpe's compensation for 2020 must be increased

 to ensure compliance with SDVOB regulations, but they did not do so.

       14.    The Defendants are informed and believe, and therefore allege, that the

 Plaintiffs conspired to use their positions of trust and confidence as officers of PCCS

 to cause it to issue unauthorized payment to Eastham and damage PCCS.

       15.    Their misapplication of PCCS funds on December 31, 2020, and

 omission to PCCS also was designed to ensure Sharpe would not easily discover the

 payment because, as the Plaintiffs well knew, PCCS would use a different payroll

 processing company beginning January 1, 2021. PCCS's pre-2021 payroll records

 would become inaccessible to Sharpe without elevated efforts he would only take if

 provoked by suspicion that his trusted partners in charge of the books, records, and

 operations of the company had misapplied company funds and/or failed to disclose

 the federal regulatory violation it caused.

       16.    Sharpe did not have reason to suspect wrongdoing on the part of the

 Plaintiffs until winter of 2021.

       17.    Sharpe, who had delegated the routine financial and taxation aspects of

 PCCS to Spark, did not inspect financial records pertaining to individual employee

 payments unless prompted by Spark or some other circumstance requiring his

 attention as CEO.

       18.    In or about December of 2021, Sharpe reviewed internal corporate

 communications and discovered Eastham and Spark had been operating against him



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 in many respects, and against the interests of PCCS. He made it clear to both of them

 that their conduct was unacceptable and then terminated them as employees on

 December 14, 2021.

       19.    Spark contacted PCCS's telecommunications service provider, Verizon.

 and transferred business lines and payment plans for company property to himself

 on the day of his termination.


       20.    Spark had been issued two phones, two iPad tablets, and a laptop, all of

 which were owned by PCCS under payment plans with Verizon.                         After his

 termination, Spark kept the company's property.

       21.    Data constituting business opportunities, plans, and contacts developed

 by Eastham, Spark, and Sharpe concerning PCCS's entry into pharmaceutical

 distribution was stored on those devices. The data did not exist on any other PCCS-

 owned devices or storage services under its control once Spark converted PCCS's

 equipment.

       22.    Spark's conversion of the devices to his own use, and to the exclusion of

 .PCCS's ownership rights, thus also constituted misappropriation of PCCS's

 proprietary information.

       23.    A SDVOB must periodically apply for re-certification of its status, which

 PCCS was required to do in May of 2022.

       24.    A threshold requirement for recertification is the execution of a form by

 each owner of the SDVOB affirming his or her ownership interest and status as a




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 service -disabled veteran or not. The SDVOB cannot submit an application to the

 United States for recertification without the required signatures.

       25.    The United States' requirement that each equity owner in a business

 that intends to operate as a SDVOB execute an affirmation of the type required by

 the United States creates a special relationship of trust and confidence between all

 shareholders and between each shareholder and the company. Where any owner

 could cripple the company's ability to function as intended by all shareholders by

 refusing to execute a statement accurately reflecting his or her ownership interest in

 that company, the shareholders and the company have entrusted each other with

 exercising duties of good faith, fair dealing, and loyalty, and thus created fiduciary

 relationships among them.

       26.    Additionally, consistent with the principle that fiduciary relationships

 may be created by contract, the relationships between shareholders and the company

 are contractual in nature. A party to a contract has a duty to exercise any discretion

 in performance of that contract with good faith.

       27.    The Defendants asked Spark and Eastham to execute accurate

 affirmations of their ownership interests in PCCS in the form required by the United

 States in May and June of 2022, but acting in concert they refused.

       28.    By refusing to execute VA Form 877 accurately showing the existing

 shareholder interests in PCCS, the Plaintiffs breached their fiduciary obligations to

 other shareholders and PCCS.




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        29.    The Plaintiffs' refusal to execute VA Form 877 accurately showing the

  existing shareholder interests in PCCS was in bad faith and therefore breached their

  contractual duties.

        30.    As a result of the Plaintiffs' breaches of duty, PCCS lost its certification

  as a SDVOB, which was a lucrative line of business for the company.

        31.    Although the December 31, 2021, payment to Eastham created a

  presumption that PCCS was disqualified from recertification, the United States

  provides grounds for qualification even when the service-disabled veteran is not the

  highest compensated employee.         The Plaintiffs' refusal to execute VA Form 877

  prevented PCCS from obtaining recertification under an exception despite the effect

 of the payment to Eastham.

        32.    The Defendants are informed and believe, and therefore allege, that

 evidence of breach of fiduciary and contractual duties on the part of employees and

 officers in making and accepting the payment would permit PCCS to qualify as a

 SDVOB.

        33.    The Plaintiffs' refusal to execute Form 877, however, constitutes a

 willful and intentional breach of their duties to other shareholders and PCCS.

        34.   As set forth herein, the Plaintiffs agreed to do unlawful acts or to

 perform lawful acts unlawfully, which caused injury to PCCS and Sharpe; therefore,

 by virtue of their civil conspiracy, the Plaintiffs are jointly and severally liable.




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                                  FIRST COUNTERCLAIM
                                 (Breach of Fiduciary Duties)

          35.   The Defendants reassert and incorporate by reference the allegations in

  the previous paragraphs as if fully set forth.

          36.   As corporate officers, Eastham and Spark were de jure fiduciaries of

  PCCS.

        37.     Additionally, Eastham and Spark owed fiduciary duties to PCCS and

 the other shareholders due to their special relationship of trust and confidence.

        38.     Because of the unique requirements established by the United States

 for SDVOBs, such a company, here PCCS, and its shareholders necessarily trusted

 each other to take the steps necessary to ensure the company's continued

 qualification to do business as a SDVOB. Without such a special relationship, the

 promise of continued operation as a SDVOB would be illusory; therefore, the

 shareholders and PCCS were in a de facto fiduciary relationship.

        39.     The December 31, 2020, payment to Eastham caused PCCS to violate

 the terms of the SDVOB Program and therefore was at the time taken known or

 should have been known or believed by the Plaintiffs to be clearly in conflict with the

 best, interests of the corporation.

        40.     Making and accepting that payment breached the Plaintiffs' fiduciary

 duties to PCCS.

        41.     The Plaintiffs also were asked to execute a truthful statement of their

 ownership interests in PCCS, which they refused to do, knowing that refusal was

 contrary to the interests of PCCS.


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        42.    Filing that statement, VA Form 877, was a prerequisite for PCCS to be

  re -certified as a SDVOB and was a required element of its application.

        43.    Without a fully executed Form 877, PCCS could not apply to continue

  doing business as a SDVOB.

        44.    Were PCCS able to apply, it would have sought, and likely received,

  certification despite the misapplication of funds that presumptively disqualified it.

        45.    The Plaintiffs' breach of fiduciary duties to PCCS and Sharpe, who as a

 shareholder was owed do facto fiduciary duties set forth herein, caused PCCS to lose

  millions of dollars in government contracts that it would have been awarded as part

 of its ongoing business relationships with government agencies, and Sharpe lost

 employment income from the company's resulting failure.

        46.    As a direct and proximate result of the Plaintiffs' breach of fiduciary

 duties, PCCS and Sharpe have suffered direct and consequential damages in an

 amount exceeding twenty-five thousand dollars ($25,000).

        47.    The Plaintiffs' breach of fiduciary duties was willful and wanton and in

 reckless disregard of the rights of PCCS and Sharpe, warranting punitive damages

 in an amount to be determined by the jury.


                               SECOND COUNTERCLAIM
                                  (Breach of Contract)

        48.    The Defendants reassert and incorporate by reference the allegations in

 the previous paragraphs as if fully set forth.

        49.    Sharpe, PCCS, and the Plaintiffs were in a contractual relationship.



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        50.    The Plaintiffs owed a duty to Sharpe and PCCS as a shareholder to act

 in good faith when exercising discretion in their performance of the contract.

        51.    The Plaintiffs' refusal to execute Form 877 was in bad faith in a willful

 effort to further injure Sharpe and PCCS.

        52.    The Plaintiffs' breach of contract caused PCCS to lose millions of dollars

 in government contracts that it would have been awarded as part of its ongoing

 business relationships with government agencies.

        53.    The Plaintiffs' breach of contract caused Sharpe to lose his investment

 in the company and employment income.

        54.    Sharpe therefore suffered injury separate and distinct from the injuries

 sustained by PCCS.

        55.    As a direct and proximate result of the Plaintiffs' breach of contract,

  PCCS and Sharpe have suffered direct and consequential damages in an amount

 exceeding twenty-five thousand dollars ($25,000).


                                 THIRD COUNTERCLAIM
                                   (Conversion—Spark)

        56.    The Defendants reassert and incorporate by reference the allegations in

  the previous paragraphs as if fully set forth.

        57.    On the day of his termination from PCCS, Spark without authorization

  changed the account information on hardware owned by PCCS and did not return the

  property to PCCS.

        58.    Spark has exercised ownership of the property belonging to PCCS.



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        59.    Subject to its payment obligations, PCCS owned the phones, tablets and

  computer on which its irreplaceable and proprietary data was stored.

        60.    The Defendants are informed and believe, and therefore allege, that

  Spark exercised a right of ownership over PCCS's property to deprive PCCS of the

  data contained therein and to further injure its business.

        61.    As a direct and proximate result of Spark's conversion, PCCS has

 suffered direct and consequential damages in an amount exceeding twenty-five

  thousand dollars ($25,000).


                               FOURTH COUNTERCLAIM
                         (In the Alternative—Unjust Enrichment)

        62.    The Defendants reassert and incorporate by reference the allegations in

  the previous paragraphs as if fully set forth.

        63.    Eastham was enriched by his receipt of funds from PCCS that were not

 earned or owed.

        64.    Spark was unjustly enriched by his retention of PCCS property,

 including its valuable and proprietary data.

        65.    PCCS did not confer such benefits on the Plaintiffs officiously or without

 expectation of compensation. Their enrichment was unjust under the circumstances.

        66.    As a direct and proximate result of the Plaintiffs' breach of fiduciary

 duties, PCCS has suffered direct and consequential damages in an amount exceeding

  twenty-five thousand dollars ($25,000).




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       WHERFORE, the Defendants pray as follows:

       1.      That the Plaintiffs have and recover nothing of these Defendants;

       2.      That PCCS has and recovers compensatory and consequential damages

 from the Plaintiffs, jointly and severally, in an amount exceeding twenty-five

 thousand dollars ($25,000);

       3.      That Sharpe has and recovers compensatory and consequential

 damages from the Plaintiffs, jointly and severally, in an amount exceeding twenty-

 five thousand dollars ($25,000);

       4.      That in the alternative to damages, PCCS receive restitution from the

 Defendants;

       5.      That the Defendants have and recover from the Plaintiffs, jointly and

 severally, punitive damages in an amount to be determined by the jury;

       6.      That the Defendants be awarded attorney's fees, jointly and severally,

 as provided by law;

       7.      That costs be taxed against the Plaintiffs, jointly and severally; and

       8.      For trial by jury on all issues so triable.




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      Respectfully submitted this the 22nd day of July 2022.

                                                   REISS & Nurr, PLLC
                                                   Attorneys for Defendants


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                              CERTIFICATE OF SERVICE

       1, the undersigned attorney, hereby certify that the foregoing document was
 duly served on the following persons, pursuant to Rule 5 of the North Carolina Rules
 of Civil Procedure by depositing the same in a postage-paid, properly addressed
 wrapper in a post office or official depository under the exclusive care and Custody of
 the United States Postal Service:

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       This the 22nd day of July 2022.

                                                     REISS &       PLIA:
                                                     Attorneys kr Defendants


                                            By:
                                                     W. Cory kiss




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